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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
UNTIED STATES OF AMERICA,
Plaintiff,
V. CASE NO.: 6:20-CR-97-Orl-3 1LRH
JOEL MICAH GREENBERG,
Defendant.

/

WAIVER OF DEFENDANT’S PRESENCE AT
ARRAIGNMENT AND PLEA OF NOT GUILTY

I, JOEL MICAH GREENBERG, the above named defendant, do hereby waive my right
to be present at Ayrgjynment and enter a plea of not guilty to the charges. I hereby state that I
have received a eopyof the charging instrument and have reviewed it with my counsel.

   

 

Signature of defen Vant’s attorney Defendtint ’s sigGature

Date: Q- L- 2072 (

Date:

Fritz Scheller, Bar No. 183113

Printed name and bar number of defendant's attorney
200 East Robinson St., Orlando, FL 32801
Address of defendant’s attorney
407-792-1285
Telephone number of defendant’s attorney
CONSENT TO WAIVER OF DEFENDANT’S PRESENCE AT ARRAIGNMENT AND

RECEIPT OF PLEA OF NOT GUILTY

I hereby accept the Waiver of Defendant’s Presence at Arraignment and Entry of Not
Guilty Plea and direct that the plea of not guilty be received for filing.

 

LESLIE R. HOFFMAN
UNITED STATES MAGISTRATE JUDGE

Date: _

 
